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                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                              FOR THE NINTH CIRCUIT
                                                                       JUN 30 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 FEDERAL TRADE COMMISSION,                     No. 22-56012

                Plaintiff - Appellee,
                                               D.C. No. 3:18-cv-01388-LAB-WVG
   v.                                          U.S. District Court for Southern
                                               California, San Diego
 TRIANGLE MEDIA
 CORPORATION, a Delaware                       ORDER
 corporation, AKA Beauty and Truth,
 AKA E-Cigs, AKA Phenom Health,
 AKA Triangle CRM; et al.,

                Defendants,

   v.

 WELLS FARGO & COMPANY;
 WELLS FARGO BANK, N.A.,

                Movants - Appellants,

 ------------------------------

 THOMAS W. MCNAMARA,

                Receiver - Appellee.


        The reply brief submitted on June 29, 2023 is filed.

        Within 7 days of this order, appellants are ordered to file 6 copies of the

brief in paper format with gray covers, accompanied by certification (attached to

the end of each copy of the brief) that the brief is identical to the version submitted
         Case: 22-56012, 06/30/2023, ID: 12746345, DktEntry: 45, Page 2 of 2

electronically. The Form 18 certificate is available on the Court's website at

http://www.ca9.uscourts.gov/forms/.

        The further excerpts of record submitted on June 29, 2023 are filed. Within

7 days of this order, appellants are ordered to file 3 copies of the excerpts in paper

format securely bound on the left side, with white covers.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
